                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF MASSACHUSETTS

RENEE MINISTERI,                                 )
Personal Representative of the Estate of         )
Anthony Ministeri,                               )
                                                 )
                                Plaintiff,       )
                                                 )
                        v.                       )       Case No. 18-cv-10611- LTS
                                                 )
RELIANCE                                         )
STANDARD LIFE INSURANCE                          )
COMPANY,                                         )
                                                 )
                                Defendant.       )

                                 AMENDED JUDGMENT
Sorokin, D. J.:



                                                              Summary Judgment, and in accordance



                                                       -judgment interest, attorney fees and costs,

        IT IS HEREBY ORDERED:

        Judgment for the Plaintiff, Renee Ministeri against Reliance Standard Life Insurance

Company2 in the amount of $1,092,000.00, plus attorney fees, pre-judgment interest and costs as

set forth below and detailed

        Prejudgment interest: Reliance Standard Life Insurance Company shall pay the

plaintiff prejudgment interest on the aforesaid amount of $1,092,000.00 from January 6, 2017 at


  As ordered by the Court [Dkt. 73] the parties are jointly filing the Proposed Amended Judgment and
both parties agree that the calculations herein are in accordance with the Courts orders [Dkts 57 and 73].
Defendant does not stipulate to or in any way consent to the entry of the amended judgment against it nor
may this filing be considered a waiver of any appeal rights by either party.
2

September 10, 2019.
the average federal prime rate (4.5%) plus three (3) percentage points, or 7.5% interest

compounded annually through the date of Entry of this Proposed Amended Judgment. Pre-

judgment interest at a rate of 7.5% compounded annually is $431,107.43 as of August 11, 2021

and is calculated as follows:

 Year (compounded annually)            Interest




 Total (as of Aug. 11, 2021)           $431,107.43

       Attorney fees: Reliance Standard Life Insurance Company shall pay the P

                                      018.75 as set forth in the table below:




       Costs: Reliance Standard Life Insurance Company shall pay the P

amount of $426.73.

       Totals: As of August 11, 2021 the total judgment in favor of Plaintiff and against

Reliance Standard Life Insurance Co. is $1,625,552.91 as summarized below.
                         18th day of August, 2021.
DONE AND ORDERED on this ____


                                           Robert M. Farrell
                                           Clerk of the Court


                                     By:    /s/ Maria Simeone
                                           __________________________________
                                            Courtroom Deputy Clerk
                                 CERTIFICATE OF SERVICE

       In accordance with Local Rule 5.2(b), I hereby certify that this document filed through

the ECF system on August 11, 2021, will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing.


                                                                    /s/ Teresa A. Monroe
                                                                    Teresa A. Monroe
